                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. 15-CR-3017-LRR
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 MICHAEL ZACKARY THOMPSON,             RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEA
                     ____________________

                       I. INTRODUCTION AND BACKGROUND
        On June 8, 2015, a two-count Information was filed against the defendant Michael
Zackary Thompson. On June 9, 2015, the defendant appeared before United States Chief
Magistrate Judge Jon S. Scoles and entered a plea of guilty to Counts 1 and 2 of the
Information. On June 9, 2015, Judge Scoles filed a Report and Recommendation in which
he recommended that the defendant’s guilty pleas be accepted. No objections to Judge
Scoles’s Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Judge Scoles’s recommendation to accept the defendant’s pleas in this
case.
                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:

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             The district judge must determine de novo any part of the
             magistrate judge’s disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
June 9, 2015, and ACCEPTS the defendant’s pleas of guilty in this case to Counts 1 and
2 of the Information.
      IT IS SO ORDERED.
      DATED this 24th day of June, 2015.




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